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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                     NORTHERN DIVISION

 AMERICAN FEDERATION OF STATE,
 COUNTY AND MUNICIPAL EMPLOYEES,
 AFL-CIO, et al.,

                        Plaintiffs,

                            vs.
                                                           Civil Action No. 1:25-cv-00596
 SOCIAL SECURITY ADMINISTRATION,
 et al.,

                       Defendants.




 MOTION FOR SUPPLEMENTATION OF THE ADMINISTRATIVE RECORD OR, IN
               THE ALTERNATIVE, LIMITED DISCOVERY

       Plaintiffs respectfully request that this Court order Defendants to supplement the

administrative record produced on April 2, 2025, to include complete and unredacted: (1)

employment documentation for all DOGE personnel, defined for purposes of this Motion as any

of the eleven DOGE Team members disclosed by Defendants or any recent additions not yet

disclosed to Plaintiffs or the Court, operating at the Social Security Administration, including

agreements or instructions regarding DOGE oversight of DOGE personnel; (2) certificates of

completion of Information Security and Privacy Awareness training for all DOGE personnel

operating at the Social Security Administration; and (3) written justifications for DOGE

personnel access to Social Security Administration systems or records. Plaintiffs also respectfully

ask that this Court require Defendants to provide a privilege log detailing each redaction or

withholding made in the production of the administrative record.
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       Alternatively, Plaintiffs respectfully request that this Court order the production of the

above to Plaintiffs through limited discovery.


 Dated: April 3, 2025                                Respectfully submitted,

                                                     /s/ Mark B. Samburg
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                                                     * Admission to this Court pending
                                                     + Admitted pro hac vice
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                              CERTIFICATE OF SERVICE

    I, Mark B. Samburg, certify that I filed the foregoing document with the Clerk of Court for

the United States District Court for the District of Maryland, Northern Division, by using the

CM/ECF system, which sent a notice of such filing to all registered CM/ECF users who have

appeared in this case.


                                                             /s/ Mark B. Samburg
                                                             Counsel for Plaintiffs
